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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA
               Plaintiff
v.                                    Case Number 4:03CR3033
                                                     USM Number: 18145-047
EDUARDO MEDINA PACHECO
a/k/a EDGAR MENDOZA-PACHECO, a/k/a
EDGAR PACHECO, a/k/a EDGAR MENDOZA,
a/k/a OSVALDO MELENDEZ, a/k/a
OSBALDO MELENDEZ, a/k/a HAPPY
                Defendant
                                                     Michael Smart
                                                     Defendant’s Attorney
___________________________________
                    AMENDED JUDGMENT IN A CRIMINAL CASE
               ON MOTION OF THE GOVERNMENT AFTER INITIAL SENTENCING
                   (For Offenses Committed On or After November 1, 1987)

Date of Original Judgment: 4/03/02
(Or Date of Last Amended Judgment)
Reason for Amendment:
        Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))

THE DEFENDANT pleaded guilty to count(s) I of the Superseding Indictment on 7/21/03.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                       Date Offense                 Count
     Title & Section        Nature of Offense           Concluded                 Number(s)


 21 USC 846               Conspiracy to distribute    October 18, 2002                 I
                          and possess with intent
                          to distribute
                          methamphetamine
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

[x] Government’s motion (filing 98) for reduction of sentence pursuant to Rule 35(b) is granted.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                 August 15, 2005

                                                                   s/ Richard G. Kopf
                                                                    United States District Judge
                                                                                 August 16, 2005

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                                          IMPRISONMENT

The defendant’s sentence of imprisonment is reduced from the original sentence to a term of sixty-
six (66) months.

The Court makes the following recommendations to the Bureau of Prisons:

1.     That the defendant be incarcerated in a federal facility as close to the state of Nebraska,
       as possible, so he may visit with his family.


                             ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                                _____________________________
                                                                        Signature of Defendant

                                                RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                          __________________________________
                                                                 UNITED STATES WARDEN


                                                       By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt , above.

                                           CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                          __________________________________
                                                                 UNITED STATES WARDEN


                                                       By:__________________________________




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                                      SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five
(5) years.

The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine or restitution that remains unpaid at the
commencement of the term of supervised release in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set
forth below). The defendant shall also comply with any additional conditions.

                       STANDARD CONDITIONS OF SUPERVISION

1.     The defendant shall not leave the judicial district without the permission of the court or
       probation officer;
2.     The defendant shall report to the probation officer and shall submit a truthful and complete
       written report within the first five days of each month;
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the
       instructions of the probation officer;
4.     The defendant shall support his or her dependents and meet other family responsibilities;
5.     The defendant shall work regularly at a lawful occupation, unless excused by the probation
       officer for schooling, training, or other acceptable reasons;
6.     The defendant shall notify the probation officer at least ten days prior to any change in
       residence or employment;
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
       use, distribute, or administer any controlled substance or any paraphernalia related to any
       controlled substances, except as prescribed by a physician;
8.     The defendant shall not frequent places where controlled substances are illegally sold,
       used, distributed, or administered;
9.     The defendant shall not associate with any persons engaged in criminal activity and shall
       not associate with any person convicted of a felony, unless granted permission to do so by
       the probation officer;


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10.    The defendant shall permit a probation officer to visit him or her at any time at home or
       elsewhere and shall permit confiscation of any contraband observed in plain view of the
       probation officer;
11.    The defendant shall notify the probation officer within seventy-two hours of being arrested
       or questioned by a law enforcement officer;
12.    The defendant shall not enter into any agreement to act as an informer or a special agent
       of a law enforcement agency without the permission of the court;
13.    As directed by the probation officer, the defendant shall notify third parties of risks that may
       be occasioned by the defendant’s criminal record or personal history or characteristics and
       shall permit the probation officer to make such notifications and to confirm the defendant’s
       compliance with such notification requirement.



                            SPECIAL CONDITIONS OF SUPERVISION


1.     Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
       from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute or
       administer any alcohol, just the same as any other narcotic or controlled substance.

2.     Defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or night,
       with or without a warrant, at the request of the U.S. Probation Officer to determine the presence of
       alcohol and/or controlled substances, firearms or any other contraband. Any such items found may
       be seized by the U.S. Probation Officer. This condition may be invoked with or without the
       cooperation of law enforcement officers.

3.     The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
       or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
       substance abuse, as directed by the U.S. Probation Officer.

4.     Defendant shall comply with all rules and regulations of the Bureau of Immigration Customs
       Enforcement and, if deported, shall not reenter the United States or reside therein without the
       express, written permission of the Attorney General of the United States or such attorney’s designee.

5.     Defendant shall not associate with any member, prospect, or associate member of any criminal street
       gang. If you are found to be in the company of such individuals while wearing the clothing, colors,
       or insignia of any known criminal street gang, the Court will presume that this association was for the
       purpose of participating in illegal gang activities.

6.     Defendant shall provide the U.S. Probation Officer with access to any requested financial information.

7.     The requirement of 18 U.S.C. § 3583 (d) [i.e. that the defendant submit to a drug test within fifteen
       (15) days of release on supervised release and to at least two (2) periodic drug tests thereafter for
       use of a controlled substance], is suspended until further order of the Court because it appears the
       defendant will be deported.

8.     Defendant shall report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska
       between the hours of 8:00am and 4:30pm, 100 Centennial Mall North, 530 U.S. Courthouse, Lincoln,
       Nebraska, (402) 437-5223, within seventy-two (72) hours of release from confinement and, thereafter,
       as directed by the probation officer.




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                             CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                          Total Fine                Total Restitution

 $100.00 (BALANCE OF
    $75.00 REMAINS)


                                                  FINE

       No fine imposed.


                                           RESTITUTION

       No restitution was ordered.




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                                     SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:

       The defendant shall pay the special assessment in the amount of $100. (A balance of
$75.00 remains.)

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska,
P.O. Box 83468, Lincoln, NE 68501.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court. In the event a defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.




CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk




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